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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

DECKERS OUTDOOR CORPORATION,
                                                     Case No. 18-cv-08048
                       Plaintiff,
                                                     Judge John Robert Blakey
       v.
                                                     Magistrate Judge Jeffrey Cole
ZHAO WU, et al.,

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Deckers

Outdoor Corporation (“Deckers”) hereby dismisses this action, with leave to reinstate within one

hundred and eighty (180) days, as to the following Defendants:

                  Defendant Name                                      Line No.
                     CWHZQW                                             443
                    Edward Mall                                         444
                       gu4901                                           449
                     hanqingjun                                         451
                      JDGFHG                                            456
                     jetsun5022                                         457
                      kevin2008                                         461
                   mmoyanjingpu                                         467
                       sunqiao                                          481
                    Super winner                                        483
                   supermarket002                                       484
                     suyansy121                                         485
                 tiantiankaixin1122                                     486
                        wnagyi                                          489
                       ych0710                                          494
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Dated this 13th day of March 2019.   Respectfully submitted,

                                     /s/ Justin R. Gaudio
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
                                     Greer, Burns & Crain, Ltd.
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                                     Chicago, Illinois 60606
                                     312.360.0080
                                     312.360.9315 (facsimile)
                                     aziegler@gbc.law
                                     jgaudio@gbc.law
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                                     Attorneys for Deckers Outdoor Corporation




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